Case 8:07-cr-00021-SDM-TGW Document 368 Filed 03/22/07 Page 1 of 8 PageID 838




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


    UNITED STATES OF AMERICA

    v.                                             CASE No. 8:07-CR-21-T-23TGW

    YOSVANI BROCHE-GONZALEZ,
    et. al.
    _________________________________


                                          ORDER

                   THIS CAUSE came on for consideration upon defendant Jose

    Guerra-Castellano’s Motion for Severance (Doc. 244), defendant Mitchell*

    Gonzalez-Noy’s Motion for Severance from Co-Defendants (Doc. 261),

    defendant Yosvani Broche-Gonzalez’s Motion for Severance (Doc. 277)

    and Amended Motion for Severance (Doc. 292), defendant Roberto Ortiz,

    Sr.’s Motion to Sever Defendant (Doc. 315), defendant Romelio Evora’s

    Motion for Severance from Co-Defendants (Doc. 316), defendant Mayelin

    Perez’s Motion for Severance (Doc. 323), and the Government’s responses

    thereto (Docs. 313, 344).

          *
           The Complaint and the Indictment lists Gonzalez-Noy’s first name as “Michell”
    (Docs. 1, 28) but, in his motion, he spells it as “Mitchell” (Doc. 261). Therefore, it will
    be assumed that “Mitchell” is the correct spelling.
Case 8:07-cr-00021-SDM-TGW Document 368 Filed 03/22/07 Page 2 of 8 PageID 839




                 Seventeen defendants in this case have been charged with,

    among other things, a conspiracy to manufacture marijuana plants. Thus,

    Count One of the Indictment in this case charges that the defendants (Doc.

    28, p. 2):

                 ... did knowingly and intentionally conspire and
                 agree to manufacture 1,000 or more marijuana
                 plants, a controlled substance, in violation of Title
                 21, United States Code, Section 841(a)(1).

                 All in violation of Title 21, United States Code,
                 Sections 846 and 841(b)(1)(A)(vii).

    Defendants Guerra-Castellano, Gonzalez-Noy, Broche-Gonzalez, Ortiz Sr.,

    Evora, and Perez have each filed a motion to sever, seeking to have their

    cases tried separately (Docs. 244, 261, 277, 292, 315, 316, 323).

                 Rule 8(b), F.R.Cr.P., provides that “[t]he indictment ... may

    charge 2 or more defendants if they are alleged to have participated in the

    same act or transaction, or in the same series of acts or transactions,

    constituting an offense or offenses.” However, Rule 14(a), F.R.Cr.P.,

    provides further that, “[i]f the joinder of offenses or defendants in an

    indictment ... appears to prejudice a defendant ..., the court may ... sever the

    defendants’ trials....”

                                          -2-
Case 8:07-cr-00021-SDM-TGW Document 368 Filed 03/22/07 Page 3 of 8 PageID 840




                 In considering motions to sever, “the general rule is that

    defendants who are jointly indicted should be tried together, and this rule

    applies with particular force to conspiracy cases.” United States v. Alvarez,

    755 F.2d 830, 857 (11th Cir. 1985), cert. denied, 474 U.S. 905 (1985) and

    482 U.S. 908 (1987); see also United States v. Cassano, 132 F.3d 646, 651

    (11th Cir. 1998), cert. denied, 525 U.S. 840 (1998); United States v.

    Knowles, 66 F.3d 1146, 1158 (11th Cir. 1995), cert. denied, 517 U.S. 1149

    (1996). When determining whether to grant a motion to sever, a court

    “must balance the right of the defendant to a fair trial against the public’s

    interest in efficient and economic administration of justice.” United States

    v. Alvarez, supra, 755 F.2d at 857; see also United States v. Marszalkowski,

    669 F.2d 655, 660 (11th Cir. 1982), cert. denied, 459 U.S. 906 (1982).

    Consequently, severance is only appropriate where a defendant

    demonstrates “that a joint trial will result in ‘specific and compelling

    prejudice’ to the conduct of his defense.” United States v. Alvarez, supra;

    see also United States v. Cassano, supra, 132 F.3d at 651 (“actual

    compelling prejudice”); United States v. Marszalkowski, supra, 669 F.2d at

    660 (“compelling prejudice”). In other words, the prejudice must result in

                                        -3-
Case 8:07-cr-00021-SDM-TGW Document 368 Filed 03/22/07 Page 4 of 8 PageID 841




    fundamental unfairness. United States v. Knowles, supra, 66 F.3d at 1159.

    Accordingly, a court must consider “‘whether the jury could avoid

    cumulating the evidence against all of the defendants and could make

    individualized guilt determinations.’” United States v. Knowles, supra, 66

    F.3d at 1158; see also United States v. Garcia, 405 F.3d 1260, 1272 (11th

    Cir. 2005). Therefore, “‘severance is justified only if the prejudice flowing

    from a joint trial is clearly beyond the curative powers of a cautionary

    instruction.’” United States v. Alvarez, supra.

                 Here, the defendants have been charged with a conspiracy to

    manufacture marijuana plants (Doc. 1; see also Doc. 28). And, as indicated,

    that weighs in favor of trying them together in a single trial rather than

    conducting multiple trials. United States v. Alvarez, supra.

                 On the other hand, the defendants’ motions for severance fail

    to articulate specific and compelling prejudice that would result from a joint

    trial. Thus, the motions of defendants Guerra-Castellano, Broche-Gonzalez,

    and Perez contain nearly the same conclusory language (see Docs. 244, 292,

    323). They assert that the trial of all of the defendants together in this case

    “is likely to be prejudicial,” which, of course, is not the governing standard

                                         -4-
Case 8:07-cr-00021-SDM-TGW Document 368 Filed 03/22/07 Page 5 of 8 PageID 842




    (Doc. 244, p. 2; Doc. 292, p. 2; Doc. 323, p. 2). The defendants further

    assert that the number of searches and potential admissions by defendants

    “will make it extremely difficult for the jurors to appraise the evidence”

    with respect to each defendant (Doc. 244, p. 3; Doc. 292, p. 3; Doc. 323, p.

    3). However, they provide no explanation why this is so. These three

    motions, therefore, are patently insufficient and do not warrant severance

    of the defendants making the motions.

                 Gonzalez-Noy appears to argue that the evidence against him

    is weak (Doc. 261, p. 1). That assertion is not enough to demonstrate that

    he will suffer specific and compelling prejudice if he is included in a joint

    trial. In support of his motion, Gonzalez-Noy also asserts that, during trial,

    he will be exposed to the other defendants’ statements that implicate their

    involvement in a crime and, therefore, his presence at the trial will make it

    impossible for the jury not to consider that evidence against him (id. at p.

    3).

                 Significantly, the defendant does not mention Bruton v. United

    States, 391 U.S. 123 (1968), or otherwise indicate that statements by co-

    defendants directly implicate him. Moreover, the Government’s response

    unequivocally states that there will be no Bruton problem with respect to

                                         -5-
Case 8:07-cr-00021-SDM-TGW Document 368 Filed 03/22/07 Page 6 of 8 PageID 843




    this defendant. Consequently, Gonzalez-Noy’s reference to statements of

    other defendants indicates, at most, the evidence against other defendants

    may be stronger.

                 However, as indicated, compelling prejudice does not exist

    merely because a greater share of the evidence is applicable to the other

    defendants in the case or a defendant will have a better chance of an

    acquittal if tried separately. United States v. Alvarez, supra; see also

    United States v. Cassano, supra. In any event, Gonzalez-Noy has failed to

    demonstrate that it is beyond the ability of the court to cure any resulting

    prejudice due to the evidence against the other defendants through the use

    of cautionary instructions regarding the evidence applicable to each

    defendant.

                 Similarly, defendant Evora’s conclusory motion for severance

    fails to demonstrate specific and compelling prejudice (Doc. 316). The

    motion, which is like Gonzalez-Noy’s, appears to focus on the number of

    defendants and the searches in this case, as well as other defendants’

    incriminating statements (see id.).       However, Evora has failed to

    demonstrate that any potential prejudice cannot be cured through cautionary



                                        -6-
Case 8:07-cr-00021-SDM-TGW Document 368 Filed 03/22/07 Page 7 of 8 PageID 844




    instructions to the jury. Here, again, the Government has stated that there

    is no apparent Bruton problem regarding this defendant.

                Ortiz’s motion for severance is also conclusory in nature (Doc.

    315). As previously indicated, the fact that the defendant thinks that the

    evidence against him is relatively weak does not establish the specific and

    compelling prejudice that justifies a severance. Similarly, such prejudice

    is not shown by the defendant’s claim of a viable abandonment defense.

    That issue can be addressed in the jury instructions. Furthermore, while

    Ortiz suggests that this case has the potential for a Bruton violation, the

    Government’s response indicates that there is no such problem as to him.

                It is, therefore, upon consideration

                ORDERED:

                That defendant Jose Guerra-Castellano’s Motion for Severance

    (Doc. 244), defendant Mitchell Gonzalez-Noy’s Motion for Severance from

    Co-Defendants (Doc. 261), defendant Yosvani Broche-Gonzalez’s Motion

    for Severance (Doc. 277) and Amended Motion for Severance (Doc. 292),

    defendant Roberto Ortiz, Sr.’s Motion to Sever Defendant (Doc. 315),

    defendant Romelio Evora’s Motion for Severance from Co-Defendants



                                       -7-
Case 8:07-cr-00021-SDM-TGW Document 368 Filed 03/22/07 Page 8 of 8 PageID 845




    (Doc. 316), and defendant Mayelin Perez’s Motion for Severance (Doc.

    323) be, and the same are hereby, DENIED.

                DONE and ORDERED at Tampa, Florida, this 22nd day of

    March, 2007.




                                     -8-
